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              EXHIBIT A
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17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION

20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )           Case No. 4:19-cv-07123-PJH
21                                      )
                                        )           PLAINTIFFS’ REPLY BRIEF IN
22                    Plaintiffs,       )           SUPPORT OF ADMINISTRATIVE
                                        )           MOTION TO ENLARGE PLAINTIFFS’
23           v.                         )           TIME TO FILE DISCOVERY-
                                        )           RELATED MOTIONS UNDER CIVIL
24    NSO GROUP TECHNOLOGIES LIMITED )              LOCAL RULE 37-3 [DKT NO. 388]
      and Q CYBER TECHNOLOGIES LIMITED, )
25                                      )           Courtroom 3
                                        )           Before the Honorable Phyllis J. Hamilton
26                    Defendants.       )
                                        )
27

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 1          Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully submit this re-

 2   ply in support of their administrative motion to enlarge Plaintiffs’ time to file discovery-related mo-

 3   tions under Civil Local Rule 37-3 (the “Motion”).

 4          At the February 15, 2024 hearing, the Court stated that if Defendants failed to comply with

 5   their discovery obligations as ordered by the Court, the Court “would not feel at all reluctant to im-

 6   pose sanctions.” Feb. 15, 2024 Tr. at 70:20–23. Defendants have not complied with the Court’s

 7   orders, and Plaintiffs intend to move for discovery sanctions. Plaintiffs have filed the instant motion

 8   to enlarge time to ensure that Plaintiffs would be heard on this issue, which the Court specifically

 9   contemplated and the filing of which will not impact any deadlines in the case.

10          Specifically, Plaintiffs filed the Motion to enlarge time, Dkt. No. 388, to ensure their compli-

11   ance with applicable rules, in case the Civil Local Rule 37-3 deadline were read to be triggered by

12   the close of fact discovery that existed before the Court granted the parties’ stipulation for additional

13   discovery after that date, Dkt. No. 380, as well as to ensure they met their obligation to meet and

14   confer prior to filing discovery motions. As to the discovery deadline itself, the plain language of

15   Civil Local Rule 37-3 suggests that, in light of the Court’s September 16, 2024 Order, discovery-

16   related motions would be timely until October 2, 2024. 1 “Motions for Sanctions—Form and Tim-

17   ing,” moreover, are governed by Civil Local Rule 7-8, which provides that sanctions motions “must

18   be made as soon as practicable after the filing party learns of the circumstances that it alleges make

19   the motion appropriate.” Civ. L.R. 7-8(c).2 Plaintiffs respectfully submit that a deadline of one week

20   after the last scheduled deposition is consistent with the “as soon as practicable” standard, given the

21   scope and complexity of the sanctions-related issues in this case, and the time needed to meaningfully

22   meet and confer.

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              Under Local Rule 37-3, “motions related to fact discovery may not be filed more than 7
25   days after the fact discovery cut-off.” “Discovery cut off” is in turn defined as “the date by which
     all responses to written discovery are due and by which all depositions must be concluded.” Under
26   the Court’s September 16, 2024 Order, Dkt. No. 380, the final deposition in this case will be Sep-
     tember 25, 2024. Seven days thereafter is October 2, 2024.
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             Notably, Civil Local Rule 7-8 on Motions for Sanctions does not reference Civil Local
     Rule 37-3, whereas it does expressly reference another Civil Local Rule, e.g., Civ. L.R. 7-2.
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     PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION TO ENLARGE PLAINTIFFS’ TIME TO FILE DISCOV-
     ERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
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 1          At the time of Plaintiffs’ filing, the parties had begun but not completed the meet-and-confer

 2   process regarding Plaintiffs’ anticipated sanctions motion: as Defendants acknowledge, Plaintiffs had

 3   sent to Defendants a detailed deficiency letter, but had not received a response from Defendants on

 4   all issues. See Dkt. No. 388-1 ¶ 7. Because Civil Local Rule 37-4(a)(2) requires the party moving

 5   for sanctions to “describe in detail the efforts made by the moving party to secure compliance without

 6   intervention by the Court,” and because Plaintiffs had not yet exhausted those efforts, it was not

 7   practicable for Plaintiffs to file their sanctions motion on September 20, 2024. 3

 8          The notion that a sanctions motion could have been filed even earlier than September 20,

 9   2024 is without merit. Defendants have never claimed or insinuated that their August 24, 2024 pro-

10   duction substantially or entirely completed their intended document productions until filing their op-

11   position motion this evening. To the contrary, Defendants obtained an extension that gave them until

12   September 13, 2024 to produce documents and communications ordered by the Court, arguing that

13   it would take them until then to receive the necessary permissions from the Israeli government. De-

14   fendants also refused to agree to a substantial completion deadline, presumably for the same reason.

15   Because of Defendants’ prior representations on the expected timing of their productions, Plaintiffs

16   could not conclusively evaluate the completeness of Defendants’ productions—much less declare

17   those productions incomplete—until the September 13, 2024 deadline had passed. Thereafter, Plain-

18   tiffs sought to narrow any potential issues, as the applicable rules contemplate, including this Court’s

19   Standing Order Regarding Discovery Disputes, Protective Orders, and ESI Orders (“Standing Order

20   on Discovery Disputes”). Plaintiffs sent Defendants the detailed deficiency letter to initiate the meet-

21   and-confer process.4 It was not until Defendants sent their partial response on September 20, 2024

22   that Plaintiffs first learned (1) that Defendants would not be producing additional documents, and (2)

23

24          3
              Plaintiffs did not attach Plaintiffs’ deficiency letter and Defendants’ partial response to
     avoid a needless dispute over the parties’ confidentiality obligations in corresponding sealing mo-
25   tions.
            4
26             Defendants’ assertion that Plaintiffs did not seek to meet-and-confer with Defendants
     about the issues raised in the deficiency letter is incorrect. The Court’s Standing Order on Discov-
27   ery Disputes specifically contemplates that parties may attempt to meet and confer by email or let-
     ter, and if unsuccessful in resolving a discovery dispute through such means, confer face-to-face.
     See Rule 1 of the Court’s Standing Order on Discovery Disputes.
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     PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION TO ENLARGE PLAINTIFFS’ TIME TO FILE DISCOV-
     ERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
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 1   that Defendants needed more time to meet-and-confer with Plaintiffs. See id. ¶ 7. Plaintiffs filed

 2   their motion to enlarge time hours later.

 3          Finally, Defendants’ opposition identifies no prejudice they will suffer if Plaintiffs are per-

 4   mitted to file discovery-related motions by October 2, 2024. To the contrary, Defendants will have

 5   their opportunity to address their discovery conduct in response to those motions. By contrast, if

 6   those motions were deemed untimely, Defendants would obtain a windfall free-pass, and Plaintiffs

 7   would be deprived of their opportunity to present Defendants’ discovery conduct for the Court’s

 8   review, and obtain appropriate sanctions for the prejudice that discovery conduct has caused. While

 9   Defendants point to the language in the parties’ so-ordered stipulation permitting depositions to con-

10   tinue after the September 13, 2020 close of fact discovery for the point that “[a]ll other deadlines of

11   the Case Management Schedule remain in place,” Dkt. 391 at 1, the Case Management Schedule is

12   silent with respect to the deadline under Local Rule 37-3, and the parties did not discuss that deadline

13   when negotiating the stipulation. Defendants, therefore, are wrong to maintain that “Plaintiffs now

14   ask to unravel the parties’ stipulation.” Id.

15          In fact, Plaintiffs’ forthcoming sanctions motion will not impact any other deadlines, and the

16   relief requested would afford both parties an opportunity to conclude meet-and-confer discussions.

17   Accordingly, to the extent that the Court finds that its previous order did not operate to extend the

18   “fact discovery cut-off” (as defined under Civil Local Rule 37-3) to September 25, 2024, there is

19   good cause to permit discovery motions to be filed on or before October 2, 2024.

20          For the foregoing reasons, and for those in Plaintiffs’ administrative motion, Plaintiffs request

21   that the Court grant its motion to permit Plaintiffs to file discovery-related motions, including its

22   motion for sanctions, until October 2, 2024.

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     PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION TO ENLARGE PLAINTIFFS’ TIME TO FILE DISCOV-
     ERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
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 1    Dated: September 24, 2024                     Respectfully Submitted,

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19
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